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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re                                                                  :   Case No. 18-22449 (RDD)

           EDWARD F. MILLER,                                           :    Chapter 7

                                                    Debtor.             :
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ORDER PURSUANT TO BANKRUPTCY RULES 4004(b)(1) AND 4007(c) DENYING IN
PART AND GRANTING IN PART SONIC ARTS ENTERTAINMENT LLC’S MOTION
              FOR AN ORDER EXTENDING ITS DEADLINE
TO OBJECT TO THE DEBTOR’S DISCHARGE AND FILE A DISCHARGEABILITY
    COMPLAINT, AND GRANTING RELATED RELIEF WITH RESPECT TO
                  BANKRUPTCY RULE 2004 ORDER

         Upon the motion, dated June 18, 2020 (the “Motion”), of Sonic Arts Entertainment LLC

(“Sonic Arts”) for an order (x) pursuant to Fed. R. Bankr. P. 4004(b)(1), extending Sonic Arts’

time to object to Edward F. Miller’s (the “Debtor”) discharge under 11 U.S.C. § 727(a) and (y)

pursuant to Fed. R. Bankr. P. 4007(c) extending Sonic Arts’ time to file a complaint to determine

the dischargeability of the Debtor’s debt to it under 11 U.S.C. § 523(c), in each case through

November 9, 2020; and upon the Debtor’s objection to the requested relief, dated June 25, 2020 and

Sonic Arts’ reply submissions, dated June 29, 2020; and upon the record of the hearing held by the

Court on the Motion on July 2, 2020 and all of the proceedings herein, including the Debtor’s

request to quash a portion of the Court’s prior order granting Sonic Arts’ request for discovery

under Fed. R. Bankr. P. 2004 (the “Rule 2004 Order”); and, after due deliberation and for the

reasons stated by the Court in its bench ruling on the record of the hearing, the Court having

determined to grant the Motion to the extent set forth herein and otherwise to deny it; and good

and sufficient cause appearing for the relief granted herein, it is hereby

         ORDERED that, the Motion’s request for an extension of time pursuant to Fed. R. Bankr.
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P. 4007(c) is denied, as the time to seek such relief in this case has expired and, accordingly, Sonic

Arts is barred from seeking relief under such Rule; and it is further

       ORDERED that the Motion’s request for an extension of time pursuant to Fed. R. Bankr.

P. 4004(b)(1) on the basis that the Debtor has failed to provide documents and information relating

to the disposition of the loan proceeds provided by Sonic Arts and others to TMG Energy Systems,

Inc. and Miller Mechanical Systems, LLC (the “Companies”) is denied, and there shall be no

further discovery under Fed. R. Bankr. P. 2004 (a) of the Debtor, including, without limitation,

under the Rule 2004 Order, or, (b) after July 8, 2020 of any third party, related to such disposition

of such loan proceeds; and it is further

       ORDERED that the Motion’s request for an extension of time pursuant to Fed. R. Bankr.

P. 4004(b)(1) based on the Debtor’s amended schedules and the taking of discovery with respect

thereto under the Rule 2004 Order (but not with respect to the Companies), is granted as follows:

(x) the Debtor shall produce the materials as offered in his counsel’s letter to the Court [Dkt. No.

95] regarding pending discovery under the Rule 2004 Order and thereafter appear for an

examination under the Rule 2004 Order (but not with respect to the Companies or the flow of loan

proceeds related thereto), and (y) the deadline for Sonic Arts to object to the Debtor’s discharge

under 11 U.S.C. § 727(a) based on the Debtor’s reporting or concealment of assets (but not with

respect to the Companies or the flow of loan proceeds related thereto) related to the amended

schedules is extended under Fed. R. Banrk. P. 4004(b)(1) to and including three business days

after the Debtor’s Rule 2004 examination has been completed.

Dated: White Plains, New York
       July 6, 2020

                                       /s/Robert D. Drain
                                       HONORABLE ROBERT D. DRAIN
                                       UNITED STATES BANKRUPTCY JUDGE

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